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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:13CR311
                                              )
      Plaintiff,                              )
                                              )                   ORDER
                vs.                           )
                                              )
MINNIE BETH DONNER,                           )
                                              )
      Defendant.                              )


      This matter is before the Court on the government’s Motion to Dismiss (Filing No.

72). Under Federal Rule of Criminal Procedure 48(a), leave of court is granted for the

dismissal of the Petition for Warrant or Summons for Offender Under Supervision (Filing

No. 59) against the above-named Defendant.

      IT IS ORDERED that the government’s Motion to Dismiss (Filing No. 72) is granted

and the Petition for Warrant or Summons for Offender Under Supervision (Filing No. 59)

is dismissed.

      DATED this 8th day of April, 2015.


                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           Chief United States District Judge
